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   IT IS ORDERED as set forth below:



    Date: May 9, 2025
                                                         _________________________________

                                                                  Barbara Ellis-Monro
                                                             U.S. Bankruptcy Court Judge

  ________________________________________________________________


              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 7
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

   ORDER GRANTING MOTION FOR AN ORDER PURSUANT TO BANKRUPTCY
    RULE 2004 AUTHORIZING EXAMINATION OF WILLIAM D. WILSON AND
 DIRECTING THE PRODUCTION OF DOCUMENTS AND LAPTOP COMPUTER FOR
                 INSPECTION AND COPYING BY TRUSTEE

        The Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of

 William D. Wilson and Directing the Production of Documents and Laptop Computer for

 Inspection and Copying by Trustee [Doc. No. 280] (the “Motion”) filed by S. Gregory Hays,

 Chapter 7 Trustee (the “Trustee” or “Movant”) for the bankruptcy estate (the “Bankruptcy

 Estate”) of ARC Management Group, LLC, Debtor (the “Debtor”) in the above captioned case

 (the “Bankruptcy Case”), having been read and considered, it is

        ORDERED that the Motion be, and the same hereby is, granted as follows: pursuant to

 Fed. R. Bankr. P. 2004(a), the Movant is authorized to proceed with discovery and conduct an
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 examination (the “Examination”) of William D. Wilson (the “Witness”) pursuant to Rule 2004

 of the Federal Rules of Bankruptcy Procedure concerning any and all matters within the scope

 permitted by Rule 2004(b), including, but not limited to, with regard to the topics set forth in the

 Trustee’s Notice of Bankruptcy Rule 2004 Examination of William D. Wilson and the Production

 of Documents (the “Examination Notice”). It is further

        ORDERED that the Examination may be rescheduled or adjourned from time to time and

 place to place by agreement of the parties, by announcement at the examination, or as set forth in

 a notice filed with the Court and served on the Witness and the Movant. It is further

        ORDERED that if attendance and, if applicable, production of designated documents in

 connection with said Examination, cannot be obtained voluntarily, the Movant may compel such

 attendance and production of documents as stated in Fed. R. Bankr. P. 2004(c) in the manner

 provided in Fed. R. Bankr. P. 9016, which incorporates the procedure for the issuance of a

 subpoena as set forth in Federal Rule of Civil Procedure 45. It is further

        ORDERED that the Witness shall timely respond to any document requests made by the

 Movant in accordance with Fed. R. Bankr. P. 2004(c). The Witness may assert written objections

 in good faith to the requests as if such requests had been served pursuant to Fed. R. Bankr. P. 7034

 and shall produce to the Movant all responsive documents that are not subject to a valid timely

 asserted objection.

        ORDERED that, in accordance with Fed. R. Bankr. P. 2004(c), the Witness shall produce

 and turnover the Laptop 1 to the Trustee for inspection and copying within seven (7) days of the

 date of this Order.



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   Capitalized, but undefined terms used herein shall have the meaning ascribed to such terms in
 the Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of William
 D. Wilson and Directing the Production of Documents and Laptop Computer for Inspection and

                                                  2
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        The Clerk is directed to serve a copy of this Order upon counsel for the Movant, the

 Witness, and the United States Trustee.

                                 ***END OF DOCUMENT***
 Prepared and Presented by:
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  /s/ Henry F. Sewell, Jr.
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                                      Parties to Be Served

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 Atlanta, GA 30303

 William D. Wilson
 12655 Old Surrey Place
 Roswell, GA 30075-1067

 S. Gregory Hays, Chapter 7 Trustee
 2964 Peachtree Road, Suite 555
 Atlanta, Georgia 30305

 ARC Management Group, LLC
 12655 Old Surrey Place
 Roswell, GA 30075-1067




 Copying by Trustee that was filed by the Movant.


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